   Case: 1:18-cv-07675 Document #: 59 Filed: 03/21/19 Page 1 of 1 PageID #:11958



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DECKERS OUTDOOR CORPORATION,
                                                    Case No. 18-cv-07675
                        Plaintiff,
                                                    Judge Edmond E. Chang
       v.
                                                    Magistrate Judge Young B. Kim
XIE JI PING, et al.,

                        Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Deckers

Outdoor Corporation (“Deckers”) hereby dismisses this action with prejudice as to the following

Defendant:

                  Defendant Name                                     Line No.
             TIMETANG Footwear Store                                    681


Dated this 21st day of March 2019.         Respectfully submitted,

                                           /s/ Justin R. Gaudio
                                           Amy C. Ziegler
                                           Justin R. Gaudio
                                           RiKaleigh C. Johnson
                                           Greer, Burns & Crain, Ltd.
                                           300 South Wacker Drive, Suite 2500
                                           Chicago, Illinois 60606
                                           312.360.0080
                                           312.360.9315 (facsimile)
                                           aziegler@gbc.law
                                           jgaudio@gbc.law
                                           rjohnson@gbc.law

                                           Attorneys for Deckers Outdoor Corporation
